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         EXHIBIT A
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 1                     UNITED STATES DISTRICT COURT
 2                  NORTHERN DISTRICT OF CALIFORNIA
 3     Before The Honorable Thomas S. Hixson, Magistrate Judge
 4

 5 KADREY, et al.,               ) No. C 23-03417-VC
                                 )
 6           Plaintiffs,         )
                                 )
 7 vs.                           )
                                 )
 8 META PLATFORMS, INC.,         )
                                 )
 9           Defendant.          )
   ______________________________)
10
                                 San Francisco, California
11                               Thursday, August 22, 2024
12
      TRANSCRIPT OF PROCEEDINGS OF THE OFFICIAL ELECTRONIC SOUND
13                RECORDING 9:07 - 9:40 = 33 MINUTES
14
     APPEARANCES:
15
     For Plaintiffs:
16                                    Joseph Saveri Law Firm, LLP
                                      601 California Street
17                                    Suite 1000
                                      San Francisco, California
18                                      94108
                                BY:   JOSEPH R. SAVERI, ESQ.
19                                    HOLDEN J. BENON, ESQ.
                                      AARON CERA, ESQ.
20

21 For Defendant:
                                      Cooley, LLP
22                                    1333 2nd Street, Suite 400
                                      Santa Monica, California 90401
23                              BY:   BOBBY A. GHAJAR, ESQ.
24            (APPEARANCES CONTINUED ON THE NEXT PAGE.)
25




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                                                                              2
 1 For Defendant:
                                      Cooley, LLP
 2                                    3 Embarcadero Center
                                      20th Floor
 3                                    San Francisco, California
                                        94111
 4                              BY:   KATHLEEN R. HARTNETT, ESQ.
 5 Transcribed by:                    Echo Reporting, Inc.
                                      Contracted Court Reporter/
 6                                    Transcriber
                                      echoreporting@yahoo.com
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                                                                          19
 1      So --
 2              THE COURT:   Are the Discord posts still around or
 3 are those gone?

 4              MS. HARTNETT:   Those, to our understanding, were
 5 taken off from public access in August of 2023, we believe

 6 by EleutherAI.    So we had never -- Meta never had knowledge
 7 of the posts during the period they were available on

 8 Discord.

 9              THE COURT:   All right.   And I gather from the
10 evidence submitted, Meta asked LinkedIn to take down the

11 post and they declined.      Is that correct?
12              MS. HARTNETT:   We contacted -- this is in my
13 declaration -- we contacted a representative of LinkedIn who

14 informed us that the step would be to go ask the person who

15 had posted it to take it down.

16              THE COURT:   Well, presumably, he is not going to
17 be very helpful, because he intentionally posted it.

18              MS. HARTNETT:   Right.    And so, our understanding
19 is that we’d actually need a court order at this point, or

20 some recognition of the privileged nature of the content, to

21 go back to LinkedIn.      Under their rules, you can ask for
22 objectionable content to be taken down, but not based on a

23 parties say so.    At least that’s out understanding.          So
24 that’s why we’re having this dispute.

25              THE COURT:   I see.




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                                                                          27
 1                     CERTIFICATE OF TRANSCRIBER
 2

 3      I certify that the foregoing is a true and correct
 4 transcript, to the best of my ability, of the above pages of

 5 the official electronic sound recording provided to me by

 6 the U.S. District Court, Northern District of California, of

 7 the proceedings taken on the date and time previously stated

 8 in the above matter.

 9      I further certify that I am neither counsel for,
10 related to, nor employed by any of the parties to the action

11 in which this hearing was taken; and, further, that I am not

12 financially nor otherwise interested in the outcome of the

13 action.

14

15

16

17                 Echo Reporting, Inc., Transcriber
18                     Saturday, August 24, 2024
19

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                                                       Echo Reporting, Inc.
